Case 2:05-cr-20075-SH|\/| Document 67 Filed 08/22/05 Page 1 of 2 Page|D 70

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FOR THE vasTERN DlsTRlcT OF TENNEssEE 05 AUG 2
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vii/g .§.§§f§?§fs?ii?f’
P|aintiff, *

CR. NO. 05-20075-Ma
v.

 

RONALD HUGHES, *
Defendant. *
ORDER

 

Upon Motion of the United States, and for good cause shown, the indictment pending
against Rona|d Hughes is hereby dismissed

Entered on this l 9 }’£\ day of August, 2005.

J%VM

HONORABLE SAMUEL H. MAYS
UNITED STATES DISTRICT COURTJUDGE

 

Approved: %Z, /--

TiMoH-=TVR. DiscENzA
Assistant United States Attorney

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Honorable Samuel Mays
US DISTRICT COURT

